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                                        Exhibit A

                                     Proposed Order




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                                  IN THE UNITED STATES BANKRUPTCY COURT
                                       FOR THE DISTRICT OF DELAWARE


         In re:                                                           Chapter 11

         MATTRESS FIRM, INC., et al.,1                                    Case No. 18-12241 (CSS)

                                    Debtors.                              (Jointly Administered)

                                                                          Ref. Docket No. __

                         SIXTH OMNIBUS ORDER (I) AUTHORIZING DEBTORS TO
                    (A) REJECT CERTAIN UNEXPIRED LEASES OF NONRESIDENTIAL
                      REAL PROPERTY NUNC PRO TUNC TO OCTOBER 31, 2018 AND
                    (B) ABANDON CERTAIN PERSONAL PROPERTY IN CONNECTION
                           THEREWITH AND (II) GRANTING RELATED RELIEF

                  Upon the motion (the “Motion”)2 of Mattress Firm, Inc. and its affiliated debtors and

         debtors in possession in the above-captioned chapter 11 cases (collectively, the “Debtors”) for

         entry of an order (this “Order”) (i) authorizing the Debtors to (a) reject the Leases set forth on

         Schedule 1 attached hereto, nunc pro tunc to the Rejection Date and (b) abandon the Remaining

         Property, effective as of the Rejection Date (as defined below), and (ii) granting related relief, all

         as more fully set forth in the Motion; and the Court being able to issue a final order consistent

         with Article III of the United States Constitution; and venue of this proceeding and the Motion

         being proper pursuant to 28 U.S.C. §§ 1408 and 1409; and appropriate notice of and the

         opportunity for a hearing on the Motion having been given and it appearing that no other or

         further notice need be provided; and this Court having reviewed the Motion and having heard the

         statements in support of the relief requested therein at a hearing before this Court; and all

         1
           The last four digits of Mattress Firm, Inc.’s federal tax identification number are 6008. The Debtors’ mailing
         address is 10201 S. Main Street, Houston, Texas 77025. Due to the large number of Debtors in these chapter 11
         cases, which are being jointly administered, a complete list of the Debtors and the last four digits of their federal tax
         identification numbers is not provided herein. This information may be obtained on the website of the Debtors’
         noticing and claims agent at http://dm.epiq11.com/MattressFirm or by contacting counsel for the Debtors.
         2
          All capitalized terms used but not otherwise defined herein have the meanings ascribed to such terms in the
         Motion.
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         objections, if any, to the Motion having been withdrawn, resolved or overruled; and the relief

         requested in the Motion being in the best interests of the Debtors’ estates, their creditors and

         other parties in interest; and this Court having determined that the legal and factual bases set

         forth in the Motion establish just cause for the relief granted herein; and after due deliberation

         and sufficient cause appearing therefor, it is HEREBY ORDERED THAT:

                1.      The Motion is GRANTED as set forth herein.

                2.      The Debtors are authorized, pursuant to sections 105(a) and 365(a) of the

         Bankruptcy Code and Bankruptcy Rules 6006 and 6007, to reject the Leases set forth on the

         attached Schedule 1, effective with respect to each Lease as of the later of (a) October 31, 2018

         and (b) the date on which the Debtors surrender possession of the Closing Store to the Lease

         counterparty by notifying the affected Lease counterparty in writing thereof and (i) turn over the

         store keys, key codes, or security codes, if any, to the Lease counterparty or (ii) notify the

         affected Lease counterparty in writing that the store keys, key codes, or security codes, if any,

         are not available and that the Lease counterparty may re-key the store (each such rejection

         effective date, the “Rejection Date”).

                3.      The Debtors are authorized, but not directed, to abandon any Remaining Property

         located at the Closing Stores subject to the Leases, in the Debtors’ sole discretion, free and clear

         of all liens, claims, encumbrances and rights of third parties, with such abandonment being

         effective as of the Rejection Date. The counterparties under the Leases are authorized to dispose

         of any Remaining Property without further notice or any liability to the Debtors or any third

         parties and without waiving any claims against the Debtors. The automatic stay is modified to

         the extent necessary to allow the disposition of any Remaining Property.




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                 4.      Within two business days after entry of this Order, the Debtors shall serve a copy

         of this Order and the attached Schedule 1 on the counterparties under the Leases.

                 5.      If a Lease counterparty wishes to assert a claim arising from the rejection of the

         Lease, the Lease counterparty shall file with the Debtors’ claims and noticing agent a proof of

         claim before the deadline specified in the Notice of Effective Date to be filed by the Debtors

         with the Court. The Notice of Effective Date will be made available on the website of the

         Debtors’ claims and noticing agent at http://dm.epiq11.com/MFLeaseRejection. The proof of

         claim    form     and     instructions    for    submission      may       also   be   obtained    at

         http://dm.epiq11.com/MFLeaseRejection.

                 6.      Notwithstanding the relief granted in this Order and any actions taken pursuant to

         such relief, nothing in this Order shall be deemed: (a) an admission as to the validity, priority, or

         amount of any particular claim against a Debtor entity; (b) a waiver of the Debtors’ or any other

         party-in-interest’s rights to dispute any particular claim on any grounds; (c) a promise or

         requirement to pay any particular claim; (d) an implication or admission that any particular claim

         is of a type specified or defined in this motion; (e) a request or authorization to assume any

         agreement, contract, or lease pursuant to section 365 of the Bankruptcy Code; (f) a waiver or

         limitation of the Debtors’ or any other party-in-interest’s rights under the Bankruptcy Code or

         any other applicable law; or (g) a concession by the Debtors or any other party-in-interest that

         any liens (contractual, common law, statutory, or otherwise) satisfied pursuant to this motion are

         valid and the Debtors and all other parties-in-interest expressly reserve their rights to contest the

         extent, validity, or perfection, or to seek avoidance of all such liens.




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                7.       By entry of this Order, the Debtors do not waive any claims that they may have

         against any counterparty to the Leases, whether or not such claims arise under, are related to the

         rejection of, or are independent of the Leases.

                8.       Nothing herein shall prejudice the rights of the Debtors to argue that any of the

         Closing Store Leases were terminated prior to the Petition Date; that any claim for damages

         arising from the rejection of the Closing Store Leases is limited to the remedies available under

         any applicable termination provision of such Lease; or that any such claim is an obligation of a

         third party and not that of the Debtors or their estates.

                9.       The contents of the Motion satisfy the requirements of Bankruptcy Rule 6003(b)

         because the relief granted in this Order is necessary to avoid immediate and irreparable harm to

         the Debtors’ estates.

                10.      Notice of the Motion shall be deemed good and sufficient notice of such Motion,

         and the requirements of Bankruptcy Rule 6004(a) and the Local Rules of Bankruptcy Practice

         and Procedure of the United States Bankruptcy Court for the District of Delaware are waived by

         such notice.

                11.      Notwithstanding Bankruptcy Rule 6004(h), the terms and conditions of this Order

         are immediately effective and enforceable upon its entry.

                12.      The Debtors are authorized to take all actions necessary to effectuate the relief

         granted in this Order in accordance with the Motion.




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                13.     This Court retains exclusive jurisdiction with respect to all matters arising from or

         related to the implementation, interpretation and enforcement of this Order.


         Dated: ____________, 2018
         Wilmington, Delaware                       CHRISTOPHER S. SONTCHI
                                                    CHIEF UNITED STATES                  BANKRUPTCY
                                                    JUDGE




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                                       Schedule 1

                                         Leases




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                                                             Schedule 11

                    STORE          LEASE COUNTERPARTY                                                    PROPERTY
                                                                                 DEBTOR
                   NUMBER                 AND ADDRESS                                                     ADDRESS
                                        1020 Chandler, LLC
                                                                                                    1020 N. 54th St. Suite
             1.                 3131 E. Camelback Road, Suite 310              Mattress Firm,
                   029011                                                                            200, Chandler, AZ
                                          ATTN: Tom Tait                            Inc.
                                                                                                           85226
                                        Phoenix, AZ, 85016
                                           1855 Park, LLC
             2.                                                               The Sleep Train,        2205 Plaza Drive,
                   900400      2323 South Bascom Avenue, Suite 150,
                                                                                    Inc.              Rocklin, CA 95765
                                       Campbell, CA 95008
                                    1993 Pulaski Highway, LLC
             3.                        113 Quintynnes Drive                                         1993 Pulaski Highway,
                   159019                                                      Sleepy's, LLC
                                       ATTN: Bruce Balick                                              Bear, DE 19701
                                      Wilmington, DE, 19807
                                2015 Arlington Towne Centre LLLP
             4.                         c/o GBR Properties                     Mattress Firm,       4100 South Cooper St.,
                   002140
                                         3114 E 81st Street                         Inc.             Arlington, TX 76015
                                          Tulsa, OK, 74137
                                            4-D Properties
             5.                                                                Mattress Firm,         6252 E Speedway,
                   062020          2870 N Swan Road, Suite 100
                                                                                    Inc.              Tucson, AZ 85712
                                         Tucson, AZ, 85712
                                 5612 South Parker Road Associates
             6.                          ATTN: Art Lewis                       Mattress Firm,         5612 S Parker Rd,
                   003066
                                         101 Stonehurst Ct.                         Inc.              Aurora, CO 80015
                                       Martinez, CA, 94553
                                      700 Win-Ashland, LLC
             7.                         2600 Dauphin Street                    Mattress Firm,         700 Winchester Ave.
                   087005                                                                             Ashland, KY 41101
                                        ATTN: John Vallas                           Inc.
                                         Mobile, AL 36606
                                    Acadia Bartow Avenue, LLC
                                      c/o Acadia Realty Trust
             8.                                                                                        2829 Edison Ave,
                   155003      411 Theodore Fremd Avenue, Suite 300            Sleepy's, LLC
                                                                                                       Bronx, NY 10469
                                   ATTN: Property Management
                                           Rye, NY, 10580
                                      AKB West Chester LLC
             9.                     8204 Squirrel Hollow Ridge                 Mattress Firm,      7659 Tylersville Road,
                   020027
                                       ATTN: Avnish Bansal                          Inc.           West Chester, OH 45069
                                     West Chester, OH, 45069
                                    ARC MFBLGKY001, LLC
                                                                                                     1640 Campbell Lane,
             10.                           c/o AR Capital                      Mattress Firm,
                   006017                                                                             Bowling Green, KY
                                   7621 Little Avenue, Suite 200                    Inc.
                                                                                                            42104
                                       Charlotte, NC, 28226
                                    ARC MFGVLNC001, LLC
                                          c/o VEREIT, Inc.                                           100 SE Greenville
             11.                                                               Mattress Firm,
                   078002      2325 East Camelback Road, Suite 1100                                  Boulevard, Ste A,
                                                                                    Inc.
                                      ATTN: Ruth Cavallucci                                         Greenville, NC 27858
                                        Phoenix, AZ, 85016




         1
           The inclusion of a Lease on this list does not constitute an admission as to the executory or non-executory nature of
         the Lease, or as to the existence or validity of any claims held by the counterparty or counterparties to such Lease.
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                 STORE           LEASE COUNTERPARTY                                            PROPERTY
                                                                       DEBTOR
                NUMBER                  AND ADDRESS                                             ADDRESS
                                  ARC MFRLHNC001, LLC
                                        c/o VEREIT, Inc.
          12.                                                        Mattress Firm,       913 Spring Forest Road,
                013032     2325 East Camelback Road, Suite 1100
                                                                          Inc.              Raleigh, NC 27609
                                    ATTN: Ruth Cavallucci
                                      Phoenix, AZ, 85016
                             ARCP MF GOLDSBORO NC LLC
                                  c/o American Realty Capital
          13.                                                        Mattress Firm,        508 N. Berkeley Blvd,
                078005     2325 East Camelback Road, Suite 1100
                                                                          Inc.             Goldsboro, NC 27534
                                    ATTN: Ruth Cavallucci
                                      Phoenix, AZ, 85016
                          ARCP MT Vienna WV, LLC c/o VEREIT,
          14.                                                        Mattress Firm,       501 Grand Central Ave,
                087003   Inc. 2325 East Camelback Road, Suite 1100
                                                                          Inc.              Vienna, WV 26105
                          Attn: Ruth Cavallucci Phoenix, AZ, 85016
                                 Barclay/Pleasant Valley, LLC
          15.                          c/o Barclay Group             Mattress Firm,        9811 W Happy Valley
                029155
                             2390 E. Camelback Road, Suite 200            Inc.             Rd, Peoria, AZ 85383
                                      Phoenix, AZ, 85016
                                   Barowsky Real Estate, Inc.
                                                                                            98 Lower Westfield
          16.                        ATTN: Ned Barowsky
                181004                                                Sleepy's, LLC          Road 2nd Floor,
                                   98 Lower Westfield Road
                                                                                            Holyoke, MA 01040
                                      Holyoke, MA, 01040
                                 BRE RC 1890 Ranch TX LP
                                  c/o ShopCore Properties, LP                             1335 E Whitestone Blvd
          17.                                                        Mattress Firm,
                004016         307 Fellowship Road, Suite 116                             #J-300, Cedar Park, TX
                                                                          Inc.
                            ATTN: Office of the General Counsel                                   78613
                                     Mt. Laurel, NJ, 08054
                           BRE Throne Garner Towne Square LLC
          18.                     c/o Brixmor Property Group         Mattress Firm,         2670 Timber Drive,
                013178
                              450 Lexington Avenue, 13th Floor            Inc.               Garner, NC 27529
                                     New York, NY, 10170
                                  Brixmor Manchester I LLC
                         c/o Brixmor Property Group 450 Lexington
          19.                                                                               29 Pavilions Drive,
                160010                 Avenue, 13th Floor             Sleepy's, LLC
                                                                                           Manchester, CT 06042
                                    ATTN: General Counsel
                                     New York, NY, 10170
                                 Brixmor Stockbridge Village
                                  c/o Brixmor Property Group
          20.                                                                             3060 South Evans Street,
                078172        450 Lexington Avenue, 13th Floor        Sleepy's, LLC
                                                                                           Greenville, NC 27834
                                    ATTN: General Counsel
                                     New York, NY, 10170
                                     Broadway Station LLC
                                                                                          7865 E. Broadway Blvd
          21.                   c/o Phillips Edison & Company        Mattress Firm,
                062004                                                                     Ste. 165, Tucson, AZ
                                     11501 Northlake Drive                Inc.
                                                                                                  85710
                                     Cincinnati, OH, 45249
                                     Cabernet Sunsets, LLC
          22.                                                        The Sleep Train,     2204 Plaza Dr. Rocklin,
                900401        1400 Rocky Ridge Drive, Suite 280
                                                                           Inc.                 CA 95765
                                      Roseville, CA 95661
                            CBL & Associates Management, Inc.
          23.                        CBL Center, Suite 500           Mattress Firm,         4611 Eastgate Blvd,
                020022
                               2030 Hamilton Place Boulevard              Inc.             Cincinnati, OH 45245
                                 Chattanooga, TN, 37421-6000



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                 STORE         LEASE COUNTERPARTY                                             PROPERTY
                                                                      DEBTOR
                NUMBER               AND ADDRESS                                               ADDRESS
                            Centro NP Holdings 10 SPE, LLC
                                c/o Brixmor Property Group                                 2278 Miamisburg
          24.                                                        Mattress Firm,
                034001      450 Lexington Avenue, 13th Floor                             Centreville Rd., Dayton,
                                                                          Inc.
                            ATTN: Office of General Counsel                                    OH 45459
                                   New York, NY, 10017
                         CH Realty VI/R Houston Wood-Ridge, LP
                           c/o Weiss Realty Management LLC                                 27700 Interstate 45
          25.                                                        Mattress Firm,
                001105       730 N. Post Oak Road, Suite 350                               North , Conroe, TX
                                                                          Inc.
                                      Attn: Sid Weiss                                            77385
                                    Houston, TX, 77024
                           CH Retail Fund I/Austin Mueller, LP
                                                                                           1200 Barbara Jordan
          26.                       3819 Maple Avenue                Mattress Firm,
                004043                                                                    Blvd, Bldg 3, Ste. 320,
                                   ATTN: Asset Manager                    Inc.
                                                                                            Austin, TX 78723
                                     Dallas, TX, 75219
                              CH Retail/Atlanta Atwater LLC
                                                                                            2705 Old Milton
          27.                       3819 Maple Avenue                Mattress Firm,
                007133                                                                     Parkway, Ste #300,
                                   ATTN: Asset Manager                    Inc.
                                                                                          Alpharetta, GA 30009
                                     Dallas, TX, 75219
                               Cole MF Melbourne FL. LLC
                                     c/o VEREIT, Inc.                                      4450 W. New Have
          28.                                                        Mattress Firm,
                053022    2325 East Camelback Road, Suite 1100                           Avenue, Melbourne , FL
                                                                          Inc.
                                  ATTN: Ruth Cavallucci                                          32904
                                    Phoenix, AZ, 85016
                                    Colonial Palms Plaza                                  13623 S. Dixie Hwy
          29.                                                        Mattress Firm,
                052102      925 South Federal Hwy, Suite 700                             #145, Palmetto Bay, FL
                                                                          Inc.
                                   Boca Raton, FL, 33432                                         33176
                               Columbia Retail Dulles, LLC
                             c/o Regency Centers Corporation
          30.                                                                              2445 Centerville Rd,
                179108      One Independent Drive, Suite 114         Sleepy's, LLC
                                                                                           Herndon, VA 20171
                               ATTN: Lease Administration
                               Jacksonville, FL, 32202-5019
                                                                                           4439 Virginia Beach
                               Columbus Square Associates
          31.                                                        Mattress Firm,                Blvd.
                061028            7606 Leafwood Drive
                                                                          Inc.              Virginia Beach, VA
                                   Norfolk, VA, 23518
                                                                                               23462-3100
                               Commerce Partnership 9505
                                   c/o Commerce Group
          32.                                                        Mattress Firm,      1680 Washington Rd Ste
                077006      1280 West Newport Center Drive
                                                                          Inc.            J, Pittsburgh, PA 15241
                                  ATTN: Martin O'Boyle
                               Deerfield Beach, FL, 33442
                         Cornerstone Properties - Huntington, LLC
                                                                                             15 Mall Road,
          33.                         641 Sixth Street               Mattress Firm,
                087001                                                                     Barboursville, WV
                                 Attn: Keith A. McGuire                   Inc.
                                                                                                25504
                                 Huntington, WV, 25701
                              CPT Arlington Heights 1, LP
          34.                    c/o Fairburne Properties            Mattress Firm,      4000 Five Points Blvd,
                117003
                            1 East Wacker Drive, Suite #2900              Inc.            Arlington, TX 76014
                                    Chicago, IL, 60601
                                     Curlew Lake LLC
          35.                    2705 Via Murano, #128               Mattress Firm,      31075 US Hwy 19 North
                025061
                                   ATTN: Justin Young                     Inc.           Palm Harbor, FL 34684
                                  Clearwater, FL, 33764

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                 STORE       LEASE COUNTERPARTY                                              PROPERTY
                                                                     DEBTOR
                NUMBER             AND ADDRESS                                                ADDRESS
                         Dan T. Chapman & Susan A. Chapman
          36.                                                      The Sleep Train,       4230 W Shaw Ave,
                504011             4272 W. Alluvial
                                                                         Inc.             Fresno, CA 93722
                                  Fresno, CA, 93722
                                 DANIEL W PHIPPS                                        418 Mary Esther Cutoff
          37.                                                       Mattress Firm,
                065010           318 N. College Street                                  Fort Walton Beach, FL
                                                                         Inc.
                                  Auburn, AL, 36830                                            32569
                                Davis-Creighton, Corp.
          38.                  c/o DMD Properties, Inc.             Mattress Firm,      7000 N. Davis Highway,
                081005
                                2805 W. Horatio Street                   Inc.             Pensacola, FL 32504
                                   Tampa, FL, 33609
                          DDR Arrowhead Crossing OP LLC
                                    c/o DDR Corp.                                        7541 West Bell Road,
          39.                                                       Mattress Firm,
                029142         3300 Enterprise Parkway                                    Ste 103, Peoria, AZ
                                                                         Inc.
                                 ATTN: EVP - Leasing                                            85382
                                Beachwood, OH, 44122
                              DDR Carolina Pavilion LP
          40.                       c/o DDR Corp.                                         9535A South Blvd,
                024174                                              Sleepy's, LLC
                               3300 Enterprise Parkway                                    Charlotte, NC 28273
                                Beachwood, OH, 44122
                               DeKalb Associates, LLC
          41.            c/o Arthur Goldner & Associates, Inc.      Mattress Firm,       2350 Sycamore Road,
                119192
                            707 Skokie Boulevard, Suite 100              Inc.              Dekalb, IL 60115
                                 Northbrook, IL, 60062
                                Delmar Commons, LLC
          42.                                                                           38661 Sussex Highway,
                159013         101 Robino Ct, Suite 405             Sleepy's, LLC
                                                                                          Delmar, DE 19940
                                  Newport, DE, 19804
                         District Heights Shopping Center, LLC
                                                                      Mattress           5432 Silver Hill Road,
          43.                c/o Kimco Realty Corporation
                179079                                              Discounters           District Heights, MD
                         3333 New Hyde Park Road, Suite 100
                                                                   Operations LLC                 20747
                           New Hyde Park, NY, 11042-0020
                              DNW, LLC c/o Commercial
                                                                                        3007 East Central Texas
          44.                     Property Resources                Mattress Firm,
                060006                                                                     Expressway, #A,
                                   P.O. Box 170730                       Inc.
                                                                                          Killeen, TX 76543
                                  Austin, TX, 78717
                         Donahue Schriber Realty Group, L.P.
          45.               200 East Baker Street, Suite 100       The Sleep Train,     3581 Truxel Rd., Suite 5,
                501028
                               ATTN: Asset Management                    Inc.            Sacramento, CA 95834
                                Costa Mesa, CA, 92626
                         Donahue Schriber Realty Group, L.P.
          46.               200 East Baker Street, Suite 100       The Sleep Train,      6075 Ulali Dr, Salem,
                526007
                               ATTN: Asset Management                    Inc.                 OR 97303
                                Costa Mesa, CA, 92626
                                  Edgmont Lot B LP
                                                                                          4885 West Chester,
          47.               c/o National Realty Corporation
                168033                                              Sleepy's, LLC        Newtown Square, PA
                                 1001 Baltimore Pike
                                                                                               19073
                                Springfield, PA, 19064
                                  Edward Fred Jacob
                          c/o Providence Group Management                                9304 Northlake West
          48.                                                       Mattress Firm,
                024056       1616 Camden Road, Suite 550                                 Drive Ste B, Charlotte,
                                                                         Inc.
                                 ATTN: James McGee                                             NC 28216
                                 Charlotte, NC, 28203

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                 STORE          LEASE COUNTERPARTY                                         PROPERTY
                                                                    DEBTOR
                NUMBER                AND ADDRESS                                           ADDRESS
                                       EIG Elgin LLC
                                c/o Equity Investment Group
          49.                                                     Mattress Firm,      394 Randall Road, South
                119117        127 West Berry Street, Suite 300
                                                                       Inc.               Elgin, IL 60177
                                  Attn: Anthony M. Zirille
                                   Fort Wayne, IN, 46802
                                    Elk Grove Owner LP
                                   c/o Acadia Realty Trust                            9660 Bruceville Rd, Ste
          50.                                                     The Sleep Train,
                501024    411 Theodore Fremd Avenue, Suite 130                          100, Elk Grove, CA
                                                                        Inc.
                                  ATTN: Legal Department                                       95624
                                       Rye, NY, 10580
                                         EPPS, LLC
          51.                                                     The Sleep Train,    2204 Plaza Dr. Suite 220
                900401            2204 Plaza Dr. Suite 220
                                                                        Inc.            Rocklin, CA 95765
                                     Rocklin, CA 95765
                             Fair Lakes Promenade Retail, LLC
                                                                                         12219 Fair Lakes
          52.              c/o Rappaport Management Company
                179041                                             Sleepy's, LLC      Promenade Drive Space
                             8405 Greensboro Drive, 8th Floor
                                                                                       6, Fairfax, VA 22033
                                 McLean, VA, 22102-5121
                                   FCS International, Inc.
          53.                                                     The Sleep Train,    2204 Plaza Dr. Suite 220
                900401            2204 Plaza Dr. Suite 210
                                                                        Inc.            Rocklin, CA 95765
                                     Rocklin, CA 95765
                                 Folksan Realty Associates
          54.                            7 Penn Plaza                                 10532 Crossbay Blvd.,
                169014                                             Sleepy's, LLC
                                    ATTN: Jeffrey J. Feil                             Ozone Park, NY 11417
                                   New York, NY, 10001
                               Forty Six Realty Associates LP
          55.                                                                          410 US Highway 46,
                166059        1680 Route 23 North, Suite 330       Sleepy's, LLC
                                                                                        Totowa, NJ 07512
                                      Wayne, NJ, 07470
                                     Frontier Dania LLC
          56.                  c/o Frontier Development LLC       Mattress Firm,       1780 Stirling Road,
                052092
                             1801 S.W. 3rd Avenue, Suite 500           Inc.           Dania Beach, FL 33004
                                      Miami, FL, 33129
                                          Funai, LLC
                                                                                        962 S Randall Road
          57.                           P.O. Box 778              Mattress Firm,
                119201                                                                 Suite B, Saint Charles,
                                    ATTN: Carlo DiCarlo                Inc.
                                                                                              IL 60174
                                   Twin Lake, WI, 53181
                                       George Emerson
          58.                                                                          2547 Berlin Turnpike,
                165007                93 Hubbard Street            Sleepy's, LLC
                                                                                       Newington, CT 06111
                                   Glastonbury, CT, 06033
                                 Germantown (E&A), LLC
                                                                     Mattress
          59.                  c/o Edens Limited Partnership                          13052 Middlebrook Rd,
                179111                                             Discounters
                                1221 Main Street, Suite 1000                          Germantown, MD 20874
                                                                  Operations LLC
                                    Columbia, SC, 29201
                                    GMS Broadway, LLC
          60.                          c/o Semir Sirazi           Mattress Firm,       3214 North Broadway,
                119211
                         1550 North Lake Shore Drive, Apt # 13A        Inc.              Chicago, IL 60657
                                     Chicago, IL, 60610
                                    GP Orland Park, LLC
                         c/o Mid-America Asset Management, Inc.                         15833 S. La Grange
          61.                                                     Mattress Firm,
                119238         One Parkview Plaza, 9th Floor                           Road, Orland Park, IL
                                                                       Inc.
                                  ATTN: Property Manager                                      60462
                                Oakbrook Terrace, IL, 60181



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                 STORE          LEASE COUNTERPARTY                                          PROPERTY
                                                                     DEBTOR
                NUMBER                 AND ADDRESS                                           ADDRESS
                            Holmgren Way Investments II LLC                               2422 S. Oneida St.,
          62.                                                       Mattress Firm,
                112005          2391 Holmgren Way, Suite A                                Ashwaubenon, WI
                                                                         Inc.
                                    Green Bay, WI, 54304                                        54304
                                Houston Uptown Crossing LP
                                                                                         5409 South Rice Ave,
          63.                      c/o The Weitzman Group           Mattress Firm,
                001158                                                                   Ste 130, Houston, TX
                               3102 Maple Avenue, Suite 350              Inc.
                                                                                                77081
                                       Dallas, TX, 75201
                                Inland American San Antonio
                                       Stone Ridge, LLC
                                  c/o Inland American Retail                             21019 US HWY 281,
          64.                                                       Mattress Firm,
                005047              Management, Building                                 Ste. 834, San Antonio,
                                                                         Inc.
                            44727 12340 Jones Road, Suite 290                                  TX 78258
                                    ATTN: Norma Aleman
                                      Houston, TX, 77070
                              Inland Park Center Plaza, L.L.C.
                                 c/o IRC Retail Centers, LLC                               15970 S Harlem
          65.                                                       Mattress Firm,
                119046        814 Commerce Drive, Suite 300                             Avenue, Tinley Park, IL
                                                                         Inc.
                               ATTN: Property Manager Oak                                       60477
                                       Brook, IL, 60523
                                Inland Prairie Crossings, LLC
                              c/o Inland Commercial Property
                                                                                         11043 West Lincoln
          66.            Management, Inc. 814 Commerce Drive,       Mattress Firm,
                119241                                                                  Highway, Frankfort, IL
                                           Suite 300                     Inc.
                                                                                               60423
                         ATTN: Prairie Crossings/Building #10376
                                     Oak Brook, IL, 60523
                          Inland Skokie Fashion Square II, L.L.C.
                                 c/o IRC Retail Centers, LLC
          67.                                                       Mattress Firm,       9410 A Skokie Blvd,
                119143        814 Commerce Drive, Suite 300
                                                                         Inc.             Skokie, IL 60077
                          ATTN: President, Property Management
                                     Oak Brook, IL, 60523
                              Inland Western Houston Sawyer
                                          Heights LP
                                                                                        26036 US 290 Frontage
          68.             c/o RPAI Southwest Management LLC         Mattress Firm,
                001177                                                                   Rd., Ste 200, Cypress,
                                 2021 Spring Road, Suite 200             Inc.
                                                                                               TX 77429
                               ATTN: Property Management
                                     Oak Brook, IL, 60523
                               Inland Western Newport News
                                                                                         12551 Jefferson Ave,
          69.                           Jefferson, LLC
                061175                                              Sleepy's, LLC         Newport News, VA
                                     2901 Butterfield Road
                                                                                                23602
                                     Oak Brook, IL, 60523
                                         J2M-IV LLC
          70.                           3543 N. Pulaski             Mattress Firm,       480 Rand Road, Lake
                119122
                                  ATTN: Property Manager                 Inc.              Zurich, IL 60047
                                      Chicago, IL, 60641
                                                                                        25 Gateway Shopping
                                 Joe Amato Ventures, LP
          71.                                                                           Center South Wyoming
                172013                P.O. Box 615                  Sleepy's, LLC
                                                                                          Ave, Kingston, PA
                                 Wilkes Barre, PA, 18703
                                                                                                18704
                                   John Eric King 116
          72.                                                                            1694 Route 9, Clifton
                150001                 Wolf Road                    Sleepy's, LLC
                                                                                           Park, NY 12065
                                   Albany, NY, 12205



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                                                                    DEBTOR
                NUMBER                 AND ADDRESS                                          ADDRESS
                                      Julfirm Partnership
          73.                      c/o Lawrence A. Shapin         Mattress Firm,      85 North Mt Juliet Rd,
                006021
                                      11200 Easum Road                 Inc.           Mount Juliet, TN 37122
                                    Louisville, KY, 40299
                                     KIMCO Austin, LP
          74.                   c/o Kimco Realty Corporation      Mattress Firm,      7010 W Hwy 71, Austin,
                004064
                           3333 New Hyde Park Road, Suite 100          Inc.                 TX 78735
                                 New Hyde Park, NY, 11042
                                       PL Roseville, LP
                                                                                       6756 Stanford Ranch
          75.                   c/o Kimco Realty Corporation      The Sleep Train,
                501081                                                                Road, #1, Roseville, CA
                           3333 New Hyde Park Road, Suite 100           Inc.
                                                                                              95678
                                    New York, NY 11042
                                     KRG Portofino, LLC
          76.                     c/o Kite Realty Group, LP       Mattress Firm,        19075 I-45 South,
                001200
                               30 South Meridian, Suite 1100           Inc.           Shenandoah, TX 77385
                                   Indianapolis, IN, 46204
                              Linear Retail Cambridge #1 LLC
                                                                                        229 Alewife Brook
          77.                    c/o Keypoint Partners, LLC
                154003                                             Sleepy's, LLC       Parkway, Cambridge,
                                One Burlington Woods Drive
                                                                                            MA 02138
                                   Burlington, MA, 01803
                                       Market 150, LLC                                1020 South Main Street,
          78.                                                     Mattress Firm,
                017029                   14 Hunt Lane                                 Ste B3, Kernersville, NC
                                                                       Inc.
                                      Weston, CT, 06883                                        27284
                                  MB Lincoln Mall, L.L.C.
                         c/o IA Management, L.L.C./Bldg. #44555                       622 George Washington
          79.   170003        2809 Butterfield Road, Suite 200     Sleepy's, LLC       Highway, Lincoln, RI
                                 ATTN: Vice President Oak                                     02865
                                       Brook, IL, 60523
                                      Med Ex Properties
          80.                        6020 Chestnut Court          Mattress Firm,       1913 Telephone Road,
                041017
                                       ATTN: Tim Scott                 Inc.              Moore, OK 73160
                                     Edmond, OK, 73025
                                       MFW Associates
          81.                        c/o Aston Properties         Mattress Firm,         821 E. Innes St,
                024044
                               610 Morehead Street, Suite 100          Inc.            Salisbury, NC 28144
                                    Charlotte, NC, 28202
                                 Mountaineer Mattress, LLC                                15 Mall Road,
          82.                                                     Mattress Firm,
                087001             2550 Mountaineer Blvd.                              Barboursville, WV
                                                                       Inc.
                                    Charleston, WV 25309                                     25504
                                 Mountaineer Mattress, LLC                              2550 Mountaineer
          83.                                                     Mattress Firm,
                087002             2550 Mountaineer Blvd.                             Boulevard, Charleston,
                                                                       Inc.
                                    Charleston, WV 25309                                   WV 25309
                                 Mountaineer Mattress, LLC
          84.                                                     Mattress Firm,      501 Grand Central Ave,
                087003             2550 Mountaineer Blvd.
                                                                       Inc.             Vienna, WV 26105
                                    Charleston, WV 25309
                                 Mountaineer Mattress, LLC
          85.                                                     Mattress Firm,      700 Winchester Avenue,
                087005             2550 Mountaineer Blvd.
                                                                       Inc.             Ashland, KY 41101
                                    Charleston, WV 25309
                                  MQ Lakewood Two LLC
                                                                                          5864 N Tarrant
          86.                 14801 Quorum Drive, Suite 160       Mattress Firm,
                002155                                                                 Parkway, Fort Worth,
                                    ATTN: Susan Cooper                 Inc.
                                                                                            TX 76137
                                      Dallas, TX, 75254

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                                                                    DEBTOR
                NUMBER                 AND ADDRESS                                          ADDRESS
                                      MSCC Realty LLC
          87.                    c/o Keypoint Partners, LLC                           600 Broadway, Saugus,
                154013                                            Sleepy's, LLC
                                One Burlington Woods Drive                                 MA 01906
                                   Burlington, MA, 01803
                            MSR-Carol Stream, LLC & Dolrob
                                     Huntington #2, LLC                                326 W. Army Trail
          88.                                                     Mattress Firm,
                119048               8401 W. 185th Street                             Road, Carol Stream, IL
                                                                       Inc.
                                      ATTN: Tim Gutraj                                       60188
                                    Tinley Park, IL, 60477
                                 Mt. Tabor Associates, LLC
                                c/o Rosenstein Development
          89.                                                     Mattress Firm,        2925 Richmond Rd,
                083015           343 Waller Ave, Suite 100
                                                                       Inc.            Lexington, KY 40509
                                     ATTN: Jeff England
                                    Lexington, KY, 40504
                           Nashville West Shopping Center, LLC
                                 c/o The Parkes Companies                             6800 Charlotte Pike, Ste
          90.                                                     Mattress Firm,
                006011               105 Reynolds Drive                                108 & 109, Nashville,
                                                                       Inc.
                                   ATTN: Gary W. Parkes                                     TN 37209
                                  Franklin, TN, 37064-2926
                                 Old Court Real Estate LLC
                                                                     Mattress
          91.                     5126 Honey Locust Court                             1514 Reisterstown Rd,
                152056                                             Discounters
                                      ATTN: Raj Pingili                               Pikesville, MD 21208
                                                                  Operations LLC
                                  Ellicott City, MD, 21042
                                    Orland Company Trust
                                                                                      14700 South La Grange
          92.                       28833 Telegraph Road          Mattress Firm,
                119239                                                                 Road Suite B, Orland
                                     ATTN: Laurie Cirino               Inc.
                                                                                          Park, IL 60462
                                    Southfield, MI, 48034
                                       Pas Corporation
          93.                                                                         401 Baltimore Pike, Bel
                152029                401 Baltimore Pike          Sleepy's, LLC
                                                                                          Air, MD 21014
                                     Bel Air, MD, 21014
                                  PHD @ Eden Way, LLC
                                                                                      809 N. Eden Way, Suite
          94.                     c/o MSP Enterprises, Inc.       Mattress Firm,
                061040                                                                 100, Chesapeake, VA
                                       3930 Max Place                  Inc.
                                                                                              23320
                                 Boynton Beach, FL, 33436
                           PRDB Springfield Limited Partnership
          95.                 c/o Continental Developers LLC                            857 Baltimore Pike,
                168040                                            Sleepy's, LLC
                                1604 Walnut Street, 4th Floor                          Springfield, PA 19064
                                   Philadelphia, PA, 19103
                             Principal Life Insurance Company
          96.                                                     Mattress Firm,       6541 Grand Avenue,
                119037           2215 York Road, Suite 503
                                                                       Inc.             Gurnee, IL 60031
                                    Oak Brook, IL, 60523
                             Promenade at Bolingbrook North
                                        Holdings, LLC
          97.            c/o Mid-America Asset Management, Inc.   Mattress Firm,      726 E. Boughton Road,
                119179
                               One Parkview Plaza, 9th Floor           Inc.           Bolingbrook, IL 60440
                                     ATTN: Jean Zoerner
                                    Oak Brook, IL, 60523
                                      Quaker MZL LLC
                                                                                       670 North West End
          98.                      c/o Katz Properties LLC
                151013                                            Sleepy's, LLC       Blvd, Quakertown, PA
                               254 West 31st Street, 4th Floor
                                                                                             18951
                                    New York, NY, 10001



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                                                                     DEBTOR
                 NUMBER             AND ADDRESS                                              ADDRESS
                               Raleigh Wake Forest LLC
          99.                 c/o ARC Property Trust, Inc.          Mattress Firm,       2913 Wake Forest Rd,
                 013036
                                   1401 Broad Street                     Inc.             Raleigh, NC 27609
                                   Clinton, NJ, 07013
                                  Rancho Center, LLC
          100.                                                      Mattress Firm,        3352 E Speedway,
                 062034    4400 E. Broadway Blvd., Suite 805
                                                                         Inc.             Tucson, AZ 85716
                                   Tucson, AZ, 85712




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